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 9

10                            UNITED STATES DISTRICT COURT
11                          CENTRAL DISTRICT OF CALIFORNIA
12

13   Daniel Torres                               Case No. 2:23-cv-01533-KK-SK

14                   Plaintiff,                  PLAINTIFF’S RESPONSE TO
                                                 DEFENDANT’S RULE 52 MOTION
15         v.
16
     United Healthcare Insurance Co. and         Hearing Date: May 23, 2024
17   DOES 1-10,                                  Time: 9:30 a.m.
18                                               Courtroom: 3
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 1                MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.    INTRODUCTION
 3         Defendant United Healthcare Insurance Co.’s (“Defendant” or “United”)
 4   opening brief glosses over the health plan’s language, ignores its own written
 5   statements of indemnification to Plaintiff, and argues against the wrong standards.
 6   Defendant creates a strawman so that it may destroy it. But the strawman is not real,
 7   and Defendant fails to grapple with the actual issues before the Court.
 8         Defendant’s California plan, UHIC_0000168, states that Defendant will pay
 9   a negotiated amount or an amount permitted by law. UHIC_0000019. The
10   California law directly on point, which addresses the payment to non-contracted
11   out-of-network providers for emergency services, is the Knox-Keene Act. Prospect
12   Med. Grp., Inc. v. Northridge Emergency Med. Grp., 45 Cal. 4th 497, 504 (2009)
13   (“As Bell explained, the Knox-Keene Act “compels for-profit health care service
14   plans to reimburse emergency health care providers for emergency services to the
15   plans’ enrollees.”). (quoting Bell v. Blue Cross of Cal., 131 Cal. App. 4th 211, 217
16   (2005)).
17         Defendant’s plan additionally states that it will pay amounts owed by
18   Plaintiff—i.e. will indemnify Plaintiff—up to expenses that are “excessive.”
19   Defendant confirmed the same to Plaintiff in letters, stating that “Data iSight
20   representative will work with [Medical Providers] to agree on the payment due,”
21   (UHIC_0000544-545), and telling Plaintiff “do not pay” Medical Providers for any
22   amount over his copays, coinsurance, or deductible. UHIC_0000341, 345.
23         Defendant ignores each of these clear articulations of its obligations. Instead,
24   Defendant argues that Medical Providers’ billed charges are excessive, that the
25   plan’s listed contractual limitations expired, and that Plaintiff failed to exhaust
26   administrative remedies. Each argument fails.
27         First, Defendant cannot ignore its obligation to Plaintiff by asserting that
28   Medical Providers’ bills are excessive. Even if they were excessive (they are not),

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 1   Defendant’s obligation and Plaintiff’s claim relates to Plaintiff’s benefits under the
 2   plan and payment according to the plan, and not Medical Providers’ full bill. As
 3   discussed further below, Defendant—under its own terms—was required to pay the
 4   amount up to and until an amount that is “excessive.” Defendant does not even
 5   argue that it paid such an amount, only that the full bill ($99,000.00)1 is excessive.
 6   But what about the $96,921.67 between the $99,000.00 Defendant claims is
 7   excessive and the $2,078.33 Defendant actually paid?
 8         Second, Defendant argues a contractual limitations period, but ignores that in
 9   order to invoke a contractual limitations in the plan Defendant was required to
10   provide notice to Plaintiff in its benefits’ determination correspondence. It did not,
11   and as such the limitations period does not apply.
12         Third, like Defendant’s limitations period argument, Defendant argues
13   Plaintiff failed to exhaust administrative remedies while ignoring that exhaustion is
14   only required if set forth as a requirement in the plan. The plan has no such
15   requirement.
16         Finally, Defendant argues that it should be allowed to make any
17   determination it wishes and interpret the plan in any self-serving manner under an
18   “abuse of discretion” standard. This is incorrect as discussed at length in Plaintiff’s
19   Legal Standard section of Plaintiff’s Opening Brief. Pltf’s Mot. 8:1-10:4. But even
20   were an abuse of discretion standard to be applied, that does not permit Defendant
21   to do whatever it wishes under claims of discretion. See Tapley v. Locals 302 & 612
22   of the Int’l Union of Operating Eng'rs-Employers Constr. Indus. Ret. Plan, 728
23   F.3d 1134, 1139 (9th Cir. 2013) (“The Court’s review of the Trustees’
24   interpretation is not without bite, however: ‘a deferential standard of review does
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27          Plaintiff withdraws its arguments in connection with the office visit for
     $4,500.00.
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 1   not mean that the plan administrator will prevail on the merits.’”) (quoting
 2   Conkright v. Frommert, 559 U.S. 506, 521 (2010)).
 3         The pertinent inquiry in an ERISA [denial of benefits] analysis is whether
 4   Defendant’s actions were proper under the plan. Defendant ignores this inquiry, and
 5   its complete failure to provide Plaintiff with the benefits owed to him under the
 6   plan. Defendant has failed to abide by its obligations to Plaintiff under the health
 7   plan and ERISA and its alleged defenses are unsupportable. Plaintiff respectfully
 8   requests that the Court allow the Parties to provide data supporting what a non
 9   excessive amount for the medical services is or order the matter remanded to the
10   health plan to engage in this process as it should have done all along.
11   II.   LEGAL STANDARD
12         As discussed at length in Plaintiff’s opening brief, the standard of review
13   here should be de novo, as any abuse of discretion language in the health plan is
14   void. See California Insurance Code § 10110.6. Pltf’s Mot. 8:1-10:4.
15         Defendant will argue that the language of California Insurance Code §
16   10110.6 does not apply to health benefits only to disability benefits. Defendant will
17   rely on Bain v. United Healthcare Inc., 2016 U.S. Dist. LEXIS 116805, at *15
18   (N.D. Cal. Aug. 30, 2016) to make this argument. However, the court in Mahlon D
19   v. Cigna Health & Life Ins. Co., 291 F. Supp. 3d 1029, 1031 (N.D. Cal. 2018)
20   explained in great detail how California Insurance Code § 10110.6 applies to health
21   benefits as well as disability benefits.
22                Defendant’s reading renders meaningless the explicit
23                language in § 106(b) that health insurance is a disability
24                insurance policy. A more coherent reading is that health
25                insurance is a smaller subset of disability insurance that
26                then further excludes particular other types of disability
27                insurance: namely, disability insurance that pays benefits
28                on a fixed benefit, cash payment only basis, such as

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 1                hospital indemnity, accident only, and specified disease
 2                insurance. …
 3                This interpretation is further bolstered by how the terms
 4                health insurance and disability insurance are used
 5                throughout the Code. At times, health insurance is
 6                explicitly carved out from the more general definition of
 7                disability insurance. For example, § 10111.2(a) imposes a
 8                30-calendar-day period for payment of benefits under a
 9                policy of disability insurance other than health insurance,
10                as defined in Section 106 . . . . Elsewhere in the Code,
11                other sections refer to health insurance by its definition as
12                disability insurance policies . . . that cover[] hospital,
13                medical, or surgical expenses. That other provisions
14                specifically       mention    health    insurance     by     name
15                underscores that when the Legislature intended to limit a
16                provision solely to health insurance, rather than the
17                umbrella term disability insurance, it knew how to do
18                so. See, e.g., Cal. Ins. Code §§ 10112.295 (identifying
19                levels     of      coverage    and     actuarial    values    for
20                nongrandfathered health insurance policies); 10198.6(a)
21                (defining "[h]ealth benefit plans" as "any group or
22                individual policy of health insurance, as defined in section
23                106 . . . .").
24   Id. at 1032-33 (cleaned up) (most citations omitted) (emphasis in original).
25         Mahlon continued to directly rebut an argument relying on Bain:
26                Defendant fails to explain its narrow interpretation in the
27                context of the entire Insurance Code, and instead relies
28                heavily on a single district court case, Bain v. United

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 1                Healthcare Inc. The Court respectfully disagrees with the
 2                reasoning in Bain. There, the court did not consider
 3                disability or health insurance in the context of the entire
 4                Insurance Code. Instead, the court limited the definition
 5                of disability insurance to disability income insurance,
 6                citing several California state cases. However, under the
 7                Insurance Code, disability insurance and disability
 8                income insurance are not synonymous, and the definition
 9                of health insurance in § 106(b) specifically excludes
10                disability income insurance as its own category, distinct
11                from the other excluded forms of disability insurance.
12                See Cal. Ins. Code § 799.01(i) (defining disability income
13                insurance as "insurance against loss of occupational
14                earning capacity arising from injury, sickness, or
15                disablement."); see       also       id. §§   106(b)(2)   and
16                (5). Moreover, the cases that the Bain court relied on
17                involved the meaning of "total disability" in two general
18                disability policies that provided insureds monthly income
19                "in the event of [their] total and permanent disability."
20                They did not rely on or interpret the definition of
21                "disability insurance" under the California Insurance
22                Code, and their analysis thus does not shed light on the
23                question at issue here.
24   Id. at 1032-33 (cleaned up) (most citations omitted) (emphasis in original).
25         Here, the health plan is a fully-funded (i.e. not a self-funded) ERISA plan and
26   it does not contain a choice of law provision. UHIC_0000168 (“your plan is fully
27   insured”). Further, the Plan sponsor KSEA is located in California. Id. (“El
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 1   Segundo, CA 90245”). California Insurance Code § 10110.6 applies, and the
 2   appropriate review is de novo.
 3   III.   ARGUMENT-
 4              A. Defendant ignores, and recasts Plaintiff’s demand.
 5          Defendant argues that Plaintiff demands Medical Providers’ charges, and
 6   spends a significant portion of its brief arguing that Medical Providers’ charges are
 7   “excessive.” But this is a red herring, meant to only to inflame.
 8                     1. Plaintiff seeks benefits entitled to him under the health
 9                         plan.
10          Plaintiff filed this lawsuit for benefits under his health plan. As stated, the
11   health plan requires Defendant’s to pay in accordance with the following language:
12                When Covered Health Services are received from a non-
13                Network provider as a result of an Emergency or as
14                arranged by us, Eligible Expenses are an amount
15                negotiated by us or an amount permitted by law. Please
16                contact us if you are billed for amounts in excess of your
17                applicable Coinsurance, Copayment or any deductible.
18                We will not pay excessive charges or amounts you are not
19                legally obligated to pay.
20   UHIC_0000019 (colorization added).
21          Defendant concedes that it did not negotiate an amount2 with Medical
22   Providers (itself a violation of its express statements to Plaintiff, as discussed
23
            2
             Defendant argues that it had no obligation to negotiate, and asserts reliance
24   on “Judge Blumenthal’s” [sic – Judge Blumenfeld’s] decision in Talbot v.
     UnitedHealthcare Ins. Co., 2024 WL 847960 (C.D. Cal. Feb. 16, 2024). However,
25
     Talbot does not support Defendants’ assertions.
26
            The health plan in Talbot stated that payment would be based on the greater
27   of three options: a negotiation (if one took place), a percentage of Medicare, or a
     percentage of Defendant’s in-network contracted rate for the same services. Both
28   Medicare and a percentage of an in-network contracted rate are readily discernable
                                                                                  (Continued)
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 1   further below), and does not cite to any law to which its payment amount was
 2   permitted. Rather, Defendant argues that the directly on-point law—the Knox
 3   Keene Act governing payment of emergency services in California, the precise
 4   services to which the above California-based plan language relates—is inapplicable
 5   to it. Instead, Defendant argues that its arbitrary payment decision—based on its
 6   own decision to utilize “Data iSight” with a lower bound of 250% of Medicare—
 7   was not against the law. Def’s Mot. 18:14-19:4.
 8           According to Defendant, its California-based payment provision for
 9   emergency out-of-network services means that it can pay whatever it wants. That is
10   as unreasonable as is it illogical.
11           In contrast to Defendant’s unsupportable payment guarantee under the plan
12   (the “whatever Defendant wants to pay” standard), California law expressly dictates
13   how out-of-network emergency services must be paid. Bell, 131 Cal. App. 4th at
14   216, (“reimbursement of a claim for noncontract providers means health care
15   service plans must pay the reasonable and customary value for the health care
16   services”). Reasonable and customary/UCR is an industry-defined and industry-
17   definite term. See Healthcare.gov, UCR (Usual, Customary and Reasonable) (May
18   10,       2024),    https://www.healthcare.gov/glossary/UCR-usual-customary-and-
19   reasonable/ (defining UCR).
20                         a. The Knox-Keene Act applies to Defendant.
21           To determine whether an entity is subject to the Knox Keene Act, the
22   appropriate question to ask is whether the entity is a health care service plan as
23   defined by the Act:
24
     (Continued)
25
     and calculable. In contrast, the current plan does not provide any discernable,
26   concrete method of payment as argued by Defendant. The sole possible discernable
     payment method as the “amount permitted by law” is “reasonable, and customary”
27   rate as demanded by the Knox-Keene Act. However, Defendant disclaims the
     Knox Keene Acts applicability.
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 1             (f) “Health care service plan” or “specialized health care
 2             service plan” means either of the following: (1) Any person
 3             who undertakes to arrange for the provision of health care
 4             services to subscribers or enrollees, or to pay for or to
 5             reimburse any part of the cost for those services, in return for
 6             a prepaid or periodic charge paid by or on behalf of the
 7             subscribers or enrollees.
 8   Cal. Health & Safety Code § 1345(f)(1) (emphasis added).
 9         Defendant is a health service plan under the Knox Keene Act because it, at
10   minimum, pays for the cost of services, in return for periodic payments. First, the
11   health plan is fully funded by Defendant. UHIC_0000168. This means that
12   Defendant is the one responsible for paying for the cost of the services Plaintiff
13   receives. Second, Plaintiff pays premiums (i.e. periodic payments) to Defendant to
14   obtain the services provided by Defendant. UHIC_00000169 (“Benefits under the
15   Plan are funded by the payment of Premium required by the group Policy.”). The
16   health plan defines premium as “the periodic fee required for each Subscriber and
17   each Enrolled Dependents enrolled under the Policy.” UHIC_0000114 (emphasis
18   added).
19         Defendant does not dispute—because it cannot dispute—that it issued
20   payments for medical services to Plaintiff (as well as other patients) or that it
21   receives premium payments from Plainitff (and others). Instead, Defendant makes
22   three arguments about why it allegedly is not a health care service plan. But each of
23   Defendant’s arguments is irrelevant to the issue before the Court: whether
24   Defendant is a health care service plan as defined by the Knox Keene Act. First,
25   Defendant argues that cases have said that Defendant is not a health care service
26   plan. Second, Defendant argues that Defendant cannot be a health care service plan
27   because Defendant is not licensed with the Department of Managed Health Care.
28   And, third, Defendant relies on Cal. Health & Safety Code § 1343(e)(1) to argue

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 1   that since Defendant is licensed with the Department of Insurance, Defendant
 2   cannot be a health care service plan.
 3         First, there is no analysis in any of the cases cited by Defendant in which a
 4   plaintiff specifically argued that the defendant is a health care service plan, subject
 5   to the Knox Keene Act and alleges or provides facts as Plaintiff does here that the
 6   defendant receives premium payments from patients and issues the payment for
 7   those same patients to the medical providers who provide the patients with medical
 8   services.
 9         Second, logically, just because a health care service plan needs to also get a
10   license from the Department of Managed Health Care does not mean that
11   Defendant does not fit into the definition of a health care service plan. See
12   Methodist Hosp. of S. California v. Blue Cross of California, No. CV 09- 5612
13   GAF (JCX), 2010 WL 11519453, at *6 (C.D. Cal. Apr. 9, 2010) (“The Court is not
14   persuaded that Prospect’s reference to ‘health care service plans,’ encompasses
15   only plans licensed by the Department of Managed Care.”). Defendant’s argument
16   is just an “a then b fallacy” or an affirming the consequent. Further, the definition
17   itself makes no mention whatsoever of the Department of Managed of Health Care.
18   California Health and Safety Code § 1345. Medical Providers take no position on
19   whether or not Defendant should or should not be obligated to get a license also
20   from the Department of Managed Health Care. Medical Providers simply show that
21   Defendant both reimburses for medical services, UHIC_0000168-169 and receives
22   periodic premium payments for the services Defendant provides. UHIC_0000114.
23   And, this makes Defendant a health care service plan.
24         Finally, section 1343 does not support Defendant’s argument either. Section
25   1343 states:
26               (a) This chapter shall apply to health care service plans and
27               specialized health care service plan contracts as defined in
28               subdivisions (f) and (o) of Section 1345…

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 1              (e) This chapter shall not apply to:
 2              (1) a person organized and operating pursuant to a certificate
 3              issued by the Insurance Commissioner unless the entity is
 4              directly providing the health care service through those entity-
 5              owned or contracting facilities and providers, in which case
 6              this chapter shall apply to the insurer’s plan and to the
 7              insurer…
 8         The language of Section 1343(a) and Section 1343(e) under Defendant’s
 9   interpretation are inconsistent. Defendant would necessarily assert that the Knox-
10   Keene Act must not apply because Defendant operates pursuant to a certificate
11   from the Insurance Commissioner. Defendant would make this assertion despite the
12   absence of any limiting language such as the words “notwithstanding” or “even if”.
13   But, Defendant’s unreasoned and unsubstantiated assumption is without legal
14   support.
15         The key question is not whether Defendant is regulated by the Department of
16   Insurance. The key question is simply whether or not Defendant falls into the
17   definition of a health care service plan. California Health and Safety Code
18   § 1343(a). As long as an entity is acting like a health care service plan, it makes
19   little difference whether they are also licensed by the department of insurance. See
20   Delta Dental Plan of Cal. v. Mendoza, 1996 WL 40264, at *8 (C.D. Cal. Jan. 3,
21   1996) (“Indeed, under the Knox-Keene Act, the Commissioner may not regulate
22   insurance companies, unless the insurer also functions as a health care service
23   plan.”) (emphasis added).
24         In Schmidt v. Found. Health, 35 Cal.App.4th 1702, 1711 (1995), an
25   insurance broker argued, like Defendant, that the Knox Keene Act did not apply to
26   him because he was licensed by the Department of Insurance.
27              In asserting regulation 1300.46 is inapplicable to his case,
28              plaintiff cites various parts of the regulatory language. First, he

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 1             contends he is not a person subject to the Act as outlined by the
 2             regulation because as a licensed insurance agent, he is exempt
 3             from the Act’s provisions. In making this claim, plaintiff relies
 4             on section 1343, subdivision (e)(1), which provides that the
 5             Act does not apply to “[a] person organized and operating
 6             pursuant to a certificate issued by the Insurance Commissioner
 7             unless the entity is directly providing the health care service
 8             through those entity-owned or contracting health facilities and
 9             providers, in which case this chapter shall apply to the
10             insurer’s plan and to the insurer.”
11

12             This provision is irrelevant to the present case. While plaintiff
13             is a licensed insurance agent, he was not acting as such in
14             soliciting clients for defendants’ health plans. As defendants
15             note, plaintiff essentially wore two hats in his professional life,
16             one as an insurance agent and the other as a broker of health
17             plans. In engaging in solicitation activities, plaintiff was not
18             selling insurance or “operating pursuant to” his insurance
19             license. The exemption of section 1343, subdivision (e)(1), is
20             therefore inapplicable.
21   Id. at 1711.
22         Whether or not Defendant is acting pursuant to a certificate issued by the
23   Department of Insurance is irrelevant to our analysis as Defendant just as easily can
24   and is “wearing the hat” of a health care service plan. UHIC_0000114, 168-169
25   Defendant has not, because it cannot, demonstrate that it does not satisfy the
26   requirements of being a health care service plan. See id.
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 1                     2. Defendant’s assertion of “excessiveness” is a red herring.
 2         Defendant spends five pages arguing that Medical Providers’ billed charges
 3   (not even the relevant amount in controversy) are excessive, pointing to it as a
 4   multiplier over the Medicare rate, and even artificially inflating that number by first
 5   reducing the Medicare rate for Medical Providers’ assistant surgeon rate to 16% in
 6   an attempt to shock the Court. But not only is Defendant wrong that Medical
 7   Providers’ bills are excessive—they are in line with the “reasonable and customary
 8   rates” for the billed CPT codes for out-of-network providers3—Defendant ignores
 9   the relevant inquiry even as to excessiveness.
10         Defendant, interpreting its own plan language, promised to indemnify
11   Plaintiff and take [all necessary measures] to protect Plaintiff from financial
12   liability. Defendant told Medical Providers four times that:
13                We continue to expect that you will not bill our member
14                for the balance except for any applicable copay,
15                coinsurance and deductible in accordance with the
16                member's benefit plan. We intend to take whatever
17                measures are necessary to ensure that you do not hold
18                our member responsible for that balance.
19   UHIC_0000338, 349, 352, 355 (emphasis added). And Defendant told Plaintiff at
20   least twice—in language noticeably absent from Defendant’s brief, and referenced
21   only as allegedly similar language—that:
22                You should not be receiving a bill from this provider
23                except for what is required under your United Healthcare
24
           3
             For example, the reasonable and customary rate for these codes is
25
     $23,798.00 in lower cost-of-living areas whose data primarily reflects out-of-
26   network provider charges. See www.fairhealthconsumer.org/medical/results [Fair
     Health for geozip 076, NJ]. It therefore is axiomatic that the Medical Providers’
27   charges—in line with those reflected as “reasonable” (part of “reasonable and
     customary”)—are not excessive.
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 1                plan (e.g. copay, coinsurance or deductible). If you do
 2                receive a bill for any additional amount over your copay,
 3                coinsurance or deductible, do not pay, and contact
 4                ALPANA MATHURIA at 424-301-9300 extn-500-2109
 5                or email: amathuri@uhc.com and reference the case
 6                number above, regarding this issue and any other
 7                questions concerning this letter.
 8   UHIC_0000341, 345 (emphasis in original).
 9          Perhaps most significantly, Defendant then sent another letter to Plaintiff
10   telling him that a “Data iSight representative will work with [Medical Providers] to
11   agree on the payment due.” UHIC_0000544-545. Meaning, Defendant told Plaintiff
12   that Defendant would negotiate with Medical Providers and in so doing indemnify
13   Plaintiff.
14          The health plan is clear that the cap on this indemnification is an amount that
15   would be “excessive.” Therefore, the relevant inquiry is whether an amount to be
16   paid is “excessive”—i.e. that Defendant will pay up to what is excessive—and not
17   whether the full bill is excessive. Defendant does not argue that an amount more
18   than it paid (but lower than full bill charges) is excessive. Yet that amount—the
19   amount just under what is excessive—is precisely what Defendant was obligated to
20   pay under the terms of the plan. Defendant does not even engage in this inquiry or
21   suggest an amount between its payment amount of $1,791.65 and the billed
22   $50,000 for the primary surgeon, or its payment amount of $286.68 and the billed
23   $49,000 for the assistant surgeon, at which charges become “excessive.”
24          Defendant’s failure—which it omits from its brief—is underscored by the
25   record’s evidence that Medical Providers made an offer to settle for less than billed
26   charges, and that Defendant did not counter. UHIC_0000549 (“The patient was
27   seen in the emergency room and was diagnosed with acute cholecystitis. Your
28   member’s claim processed and paid $1,791.65. The provider is willing to negotiate

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 1   a fair allowable amount and accept $37,500 for the emergency procedure that was
 2   performed in lieu of balance billing the patient.”).
 3         Defendant promised Plaintiff that it (through Data iSight) would take all
 4   necessary actions on his behalf to prevent Plaintiff from incurring financial liability.
 5   UHIC_0000341, 345; UHIC_0000338, 349, 352, 355; UHIC_0000544-545. But it
 6   didn’t. Defendant represented that it would pay up to what is “excessive.” Id. But it
 7   didn’t. Defendant did nothing.
 8         Defendant’s failures deprived Plaintiff of the benefits owed to him under the
 9   health plan.
10              B. The applicable statute of limitations is 4 years.
11         “In the absence of a contractual limitations period, the statute of limitations
12   for an ERISA action to recover benefits is four years.” Brand Tarzana Surgical
13   Inst. v. Aetna Life Ins. Co., 541 F. Supp. 3d 1031, 1038 (C.D. Cal. 2021).
14         Defendant argues that the health plan has a 3-year and 90-day limitations
15   period, and that Plaintiff therefore allegedly missed the deadline to file suit by
16   about 8 weeks. Def’s Mot. 17:8-14. But while Defendant spends significant time
17   arguing that contractual limitations periods can only be valid if reasonable, it
18   ignores the threshold question. A contractual limitations period under ERISA is
19   only valid if the ERISA-plan provides proper notice. See Brand, 541 F. Supp. 3d at
20   1038. (“[Insurer] did not give adequate notice, and there was no way for [plaintiff]
21   to determine when the contractual time period would be triggered.”).
22         The specific notice requirement in 29 U.S.C.S. § 1133 is set forth in 29
23   C.F.R. § 2560.503-1. According to the Regulation, when a plan denies a claim in
24   part or full, it must—along with the provided denial or explanation of benefits—
25   include:
26                  A description of the plan’s review procedures and the
27                  time limits applicable to such procedures, including a
28                  statement of the claimant’s right to bring a civil action

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 1                under section 502(a) of the Act following an adverse
 2                benefit determination on review[.]
 3   Id. (emphases added). Courts across all circuits have found that this language
 4   requires an entity like Defendant under ERISA to expressly identify the time to
 5   bring suit under the health plan, and if it does not, any alleged contractual time
 6   limitation is waived:
 7                The regulations require that benefit denial letters provide:
 8                “[a] description of the plan’s review procedures and the
 9                time limits applicable to such procedures, including a
10                statement of the claimant's right to bring a civil action . . .
11                following an adverse benefit determination on review.” 29
12                C.F.R. § 2560.503-1 (emphasis added). The claimant’s
13                right to bring a civil action is expressly included as a part
14                of those procedures for which applicable time limits must
15                be provided. Cases of out sister courts support this
16                conclusion.
17   Moyer v. Metro. Life Ins. Co., 762 F.3d 503, 505 (6th Cir. 2014) (collecting cases)
18   (emphasis in original).
19         A factually similar situation arose in Novick v. Metro. Life Ins. Co., 764 F.
20   Supp. 2d 653 (S.D.N.Y. 2011) in which the plan beneficiary did not challenge the
21   reasonableness of the health plan’s limitation period, as the reasonableness of the
22   period was immaterial. See id. at 659 (“that the six-month limitations period was
23   unreasonable; nor does she argue for excusal from the limitations period, as she
24   might have, due to equitable principals such as estoppel or equitable tolling”).
25   Rather, the beneficiary countered the insurer’s alleged defense by pointing out that
26   the insurer had failed in its notice obligations under ERISA. See id. at 660 (“that
27   [insurer] violated ERISA's requirements by not expressly stating the civil action
28   limitations period in its letter upholding its termination decision and denying her

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 1   appeal”). The court found the contractual limitations period was waived for failure
 2   to provide proper notice. See id. (“The Court finds that [insurer’s] initial benefits
 3   termination letter violated the ERISA regulations by failing to include the
 4   applicable time limit for bringing a civil action pursuant to Section 1132(a) after an
 5   adverse benefits decision on appeal. Because of that violation, New York's six-year
 6   statute of limitations governed the action and Novick's claim to STD benefits is
 7   timely.”).
 8         As in Novak, Defendant failed in its notice obligation. Defendant has not
 9   shown or provided any documentation evidencing notice. Def’s Mot. 16:10-18:4
10   (no reference to any notice). As a result, Defendant’s contractual limitations
11   defense is waived. See, e.g., M.R. v. United Healthcare Ins. Co., 2024 U.S. Dist.
12   LEXIS 36832, at *6 (S.D.N.Y. Feb. 29, 2024) (“Defendants’ regulatory violation
13   waived the contractual limitations period”); Brand, 541 F. Supp. 3d at 1038.4
14                C. Despite arguing a failure to exhaust administrative remedies,
15                  Defendant failed to identify any exhaustion requirement under the
16                  plan.
17         It is well-established that the requirement for exhaustion of ERISA appeals
18   only exists if the health plan itself requires exhaustion and says so explicitly:
19                  A number of our sister circuits have held that a claimant
20                  need not exhaust when the plan does not require it. We
21                  arguably adopted the same rule in Nelson v. EG & G
22                  Energy Measurements Group, Inc., 37 F.3d 1384 (9th Cir.
23                  1994), and we do so explicitly today.
24

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           4
             Plaintiff need not make any other showing to negate Defendant’s
     contractual limitations argument. For example, “equitable tolling is not 'an obstacle,
27   or even relevant.” M.R. v. United Healthcare Ins. Co., 2024 U.S. Dist. LEXIS
     36832, at *7.
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 1   Spinedex Physical Therapy USA Inc. v. United Healthcare of Ariz., Inc., 770 F.3d
 2   1282, 1299 (9th Cir. 2014) (quotations omitted) (emphasis added).
 3         Here, the plan says nothing suggesting—let alone expressly requiring—
 4   exhaustion. The full text of the plan as related to appeals reads:
 5                How to Request an Appeal
 6                If you disagree with either a pre-service request for
 7                Benefits determination, post-service claim determination
 8                or a rescission of coverage determination, you can contact
 9                us in writing to formally request an appeal.
10
                  Your request for an appeal should include:
11
            •     The patient's name and the identification number from the
12
                  ID card.
13

14          •     The date(s) of medical service(s).
15
            •     The provider's name.
16
            •     The reason you believe the claim should be paid.
17

18          •     Any documentation or other written information to
19                support your request for claim payment.
20                      Your first appeal request must be submitted to us
21                within 180 days after you receive the denial of a pre-
22                service request for Benefits or the claim denial.
23   UHIC_000085-86. The plan says that one “can” appeal, not that one must. And it
24   says nothing at all about an appeal being a prerequisite for a lawsuit:
25                Legal Actions
26                No action at law or in equity shall be brought to recover
27                on this Policy prior to the expiration of 60 days after
28                written proof of loss has been furnished in accordance

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 1                with the requirements of this Policy. No such action shall
 2                be brought after the expiration of three years after the
 3                time written proof is required to be furnished.
 4   UHIC_0000102.
 5         As the health plan does not have a requirement that Plaintiff have exhausted
 6   Plaintiff’s appeals Defendant cannot seek to prevail based on a failure to exhaust—
 7   exhaustion was never needed at all.
 8            D. Even under an abuse of discretion standard Defendant cannot
 9                support that it provided Plaintiff with benefits owed to him under
10                the health plan.
11         Were the Court to entertain an abuse of discretion standard of review (the
12   Court should not), the Ninth Circuit provides a clear method for conducting the
13   review which would not alter the analysis above.
14         [U]nder Ninth Circuit precedent, there are three ways in which a plan
15         administrator’s interpretation of provisions of an ERISA plan may
16         constitute an abuse of discretion. “First, it is an abuse of discretion to
17         construe provisions of a plan in a way that clearly conflicts with the
18         plain language of the Plan.” “Second, it is an abuse of discretion to
19         interpret a provision in a way that renders nugatory other provisions of
20         the Plan.” “Third, it is an abuse of discretion to give an interpretation
21         that lacks any rational nexus to the primary purpose of the Plan.”
22   Cty. of Monterey v. Blue Cross of Cal., 2020 U.S. Dist. LEXIS 25358, at *33-34
23   (N.D. Cal. Feb. 12, 2020) (quoting to Tapley, 728 F.3d at 1139 and O’Rourke v. N.
24   Cal. Elec. Workers Pension Plan, 934 F.3d 993, 1001 (9th Cir. 2019)) (cleaned up).
25         Defendant violates all three of these in ignoring the language of the health
26   plan which states: “Please contact us if you are billed for amounts in excess of your
27   applicable Coinsurance, Copayment or any deductible. We will not pay excessive
28   charges or amounts you are not legally obligated to pay.”

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 1         First, Defendant does not bother to address this specific language from the
 2   health plan and what it requires Defendant to do other than to say it requires
 3   Defendant not to pay Medical Providers’ full billed amount. Second, as a result,
 4   Defendant renders the language nugatory. This is despite the fact that it is clear that
 5   all of Defendant’s correspondence with Plaintiff and Medical Providers is
 6   specifically tied to this language of indemnification. Third, Defendant’s
 7   interpretation that it can just pay whatever it chooses (here 250% of Medicare) does
 8   not comport with the language of the health plan which requires Defendant to pay
 9   up to an amount that is not excessive.
10         Under the appropriate de novo standard or the abuse of discretion standard,
11   Defendant failed to provide Plaintiff with the benefits owed under the Plan.
12   IV.   CONCLUSION
13         For the foregoing reasons, Plaintiff requests that the Court enter judgment in
14   Plaintiff’s favor and to order the Parties to provide data supporting what is not an
15   “excessive” amount or order Defendant to pay a not “excessive” amount for the
16   services provided.5
17    DATED: May 10, 2024                           LAW OFFICE OF JONATHAN A.
18                                                  STIEGLITZ
19                                                  BY:_/s/Jonathan A. Stieglitz________
20                                                       Jonathan A. Stieglitz
                                                         Attorney for Daniel Torres.
21

22                                        .
23
           5
              Plaintiff concedes that Plaintiff has the burden to show that Plaintiff was
24   denied Plaintiff’s benefits owed under the health plan. Plaintiff has shown that
     Defendant denied Plaintiff a benefit under the health plan as Defendant did not pay
25
     an amount that was up to just below an excessive amount. Defendant simply paid
26   whatever it chose. This satisfies Plaintiff’s burden. Plaintiff need not provide a
     specific dollar amount owed by Defendant to demonstrate that Defendant denied
27   Plaintiff benefits. And, Plaintiff certainly should not have this obligation when the
     health plan itself does not speak in specific dollar amounts.
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 1                         CERTIFICATE OF COMPLIANCE
 2         The undersigned counsel of record for Plaintiff Daniel Torres certify that this
 3   brief contains 5,329 words, which complies with the word limit of L.R. 11-6.1.
 4

 5
     Dated: May 10, 2024                   Respectfully submitted,
 6

 7
                                           /s/ Jonathan A. Stieglitz
 8                                          Jonathan A. Stieglitz
 9                                          Attorney for Daniel Torres
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 1                              CERTIFICATE OF SERVICE
 2         I hereby certify that on May 10, 2024, I caused a copy of the foregoing to be
 3   filed electronically with the Clerk of the District court using the CM/ECF system,
 4   which sent notification of such filing to all parties registered to receive notice via
 5   that service.
 6

 7

 8                                           /s/ Jonathan A. Stieglitz
                                             Jonathan Stieglitz
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